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       Attn: Civil Dept

       Mitchell H. Cohen Building
       & U.S. Courthouse
       4th & Cooper Streets
       Room 1050
       Camden, NJ 08101



               To Whom It May Concern I would like to file a civil suit complaint on the behalf of what appears to
       be Gross Negligence and Malice. My complaint of the party(s) that I would like to hold accountable for
       these grievous actions would be: The Superior Court of Woodbury and The Gloucester East Division
       DCP.

       There has seemed to be a grievous error of court rulings to which has placed an unfair substantiated
       stigma on my personhood and character. Due to these actions I have had an unfortunate set of
       circumstances occurring within my life. The Ruling of the court wrongly elaborated on another wrongful
       error, a Medical error of me being wrongfully diagnosed within the time frame of 2013.

                In addition I successfully received treatment until early 2019. Furthermore, I had to file a suit for
       hostile work environment and wrongful termination in the year of 2014, for again being stalked and
       harassed within the workplace.

                 Circumstantially, the same individuals that I began to call the police on in 2013, started showing
       up to where I was currently working at the time in 2014. During this time DCP, became involved and I
       was wrongfully diagnosed which created a lasting impact on my life. Through these issues I had the
       opportunity to legally move forward through some of these circumstances with the pursue of suit. The
       Superior court of Woodbury and DCP, continue to slander my character and efforts of living a normal
       decent life as a person to raise my child. In addition, the police of Glassboro, NJ offered relief to the
       ongoing negative efforts of being stalked and harassed by issuing an arrest warrant.

                 Again, the Superior Courts of Woodbury, NJ appear to have ignored this and other creditability's
       by creating a circumstance of gross negligence's and malice in arrest efforts. I would like to pursue effort
       of rectifications to this unfortunate set of circumstance by filing a civil action suit and submitting my
       complaint



       Thanks,




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